           Case 1:13-cv-00174-CWD Document 2 Filed 04/09/13 Page 1 of 11




John R. Kormanik, ISB #5850
KORMANIK HALLAM & SNEED LLP
206 W Jefferson St
Boise ID 83642
Telephone:    208.288.1888
Facsimile:    866.821.9543
jrk@ khsidaholaw.com


Attorneys for Plaintiff


                                     UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF IDAHO



 JOHN “NICK” MARASCHIELLO,                          )
                                                    )
                       Plaintiff,                   )    CASE NO. 1:13-cv-174
                                                    )
 vs.                                                )    VERIFIED COMPLAINT
                                                    )
 JEROME COUNTY SHERIFF’S OFFICE, an                 )    DEMAND FOR JURY TRIAL
 agency or department of JEROME COUNTY,             )    PURSUANT TO DIST. IDAHO LOC.
 IDAHO, a political subdivision of the State of     )    CIV. R. 38.1
 Idaho; DOUG MCFALL, in his individual              )
 capacity; JACK JOHNSON, in his individual          )
 capacity,                                          )
                                                    )
                       Defendants.                  )

         COMES NOW, the above-named Plaintiff JOHN “NICK” MARASCHIELLO, by and

through his counsel of record, the law firm of KORMANIK HALLAM & SNEED LLP, and for causes

of action against Defendant JEROME COUNTY SHERIFF’S OFFICE, complains and alleges as

follows:

                                               PARTIES

    1. At all times relevant hereto, Plaintiff John “Nick” Maraschiello was and is a resident of

the City of Jerome, Jerome County, Idaho.


VERIFIED COMPLAINT AND DEMAND FOR JURY TRIAL Page 1
          Case 1:13-cv-00174-CWD Document 2 Filed 04/09/13 Page 2 of 11




   2. At all times relevant hereto, Defendant Jerome County Sheriff’s Office (hereinafter

“JCSO”) was and is an agency or department of Jerome County, Idaho.

   3. At all times relevant hereto, Doug McFall was and is the elected Sheriff of Jerome

County.

   4. At all times relevant hereto, Jack Johnson was and is an employee of JCSO, in a

supervisory position over Mr. Maraschiello.

   5. At all times relevant hereto, Michael Seib was and is an employee of Jerome County

Prosecutor’s Office.

                                      JURISDICTION

   6. This is a civil action over which this Court has jurisdiction pursuant to the Americans

with Disabilities Act, 42 U.S.C. §§ 12101 et seq. Additionally, this Court shares concurrent

jurisdiction with the Courts of the State of Idaho in matters arising under the Idaho Human

Rights Act, Idaho Code §§ 67-5901 through -5912 (“IHRA”).

   7. This Court’s jurisdiction over Plaintiff’s state law claims is founded upon 28 U.S.C.

§ 1367.

   8. Mr. Maraschiello’s claims against Defendant were timely filed with the Idaho Human

Rights Commission (“IHRC”) and the Equal Employment Opportunity Commission (“EEOC”).

Mr. Maraschiello received a Notice of Right to Sue from the IHRC and EEOC less than ninety

(90) days ago.

   9. On or about April 24, 2012, Mr. Maraschiello timely filed a Notice of Tort Claim with

Jerome County, Idaho, the Jerome County Sheriff’s Office, Douglas McFall, Jack Johnson and

Michael Seib. The Tort Claim Notice was not acted upon within ninety (90) days as required by

Idaho Code § 6-909.




VERIFIED COMPLAINT AND DEMAND FOR JURY TRIAL Page 2
          Case 1:13-cv-00174-CWD Document 2 Filed 04/09/13 Page 3 of 11




                                  GENERAL ALLEGATIONS

    10. Defendant is an employer within the meaning of the Americans with Disabilities Act, 42

U.S.C. §§ 12101 et seq., and the Idaho Human Rights Act, Idaho Code § 67-5902(6).

    11. Beginning on or about February 20, 2001, Mr. Maraschiello was employed as a Deputy

Sheriff with Defendant JCSO.

    12. In or about late 2009 or early 2010, Mr. Maraschiello was promoted to the position of

Sergeant with JCSO.

    13. Mr. Maraschiello was an employee within the meaning of the Americans with

Disabilities Act, 42 U.S.C. §§ 12101 et seq., and the Idaho Human Rights Act, Idaho Code § 67-

5902.

    14. During his employment with Defendant JCSO, Mr. Maraschiello was regarding as being

an alcoholic by the Sheriff, Doug McFall and the Captain, Jack Johnson. Mr. Maraschiello is not,

in fact, an alcoholic.

    15. In or about June 2011, Mr. Maraschiello requested as an accommodation under the

Americans with Disabilities Act, and was granted, a temporary medical leave of absence from

his employment.

    16. During Mr. Maraschiello’s medical leave of absence, Defendant Johnson falsely

informed a member of the general public Mr. Maraschiello was off of work because he needed to

get his drinking under control.

    17. This incident was reported to Mr. Seib of the Jerome County Prosecuting Attorney’s

office.




VERIFIED COMPLAINT AND DEMAND FOR JURY TRIAL Page 3
            Case 1:13-cv-00174-CWD Document 2 Filed 04/09/13 Page 4 of 11




    18. On or about October 28, 2011, JCSO held a hearing during which Mr. Maraschiello’s

physician provided testimony concerning Mr. Maraschiello’s depressive disorder and self-

medication activity of consuming alcohol.

    19. Mr. Maraschiello’s physician further testified Mr. Maraschiello was fit for duty as of

October 28, 2011.

    20. Mr. Maraschiello’s physician further testified it would be beneficial for Mr. Maraschiello

to be placed back on active duty with Defendant JCSO.

    21. At all times relevant hereto, Mr. Maraschiello suffered and suffers from depressive

disorder.

    22. Mr. Maraschiello’s employment with Defendant was wrongfully terminated on or about

October 28, 2011 based upon the fact he “was unstable to perform his job duties.”

                                           COUNT ONE
               Disability Discrimination in Violation of the Americans with Disability
                  Act, 42 U.S.C. § 12101 et seq., and the Idaho Human Rights Act

    23. The allegations set forth in paragraphs 1 through 21 of this Verified Complaint are

realleged in this paragraph as if fully set forth in their entirety herein.

    24. At the time of his termination from employment, Mr. Maraschiello had, or was regarded

as having, a disability within the meaning of the Americans with Disabilities Act, 42 U.S.C. §

12101 et seq.

    25. At the time of his termination from employment, Mr. Maraschiello had, or was regarded

as having, a disability within the meaning of the Idaho Human Rights Act, Idaho Code §§ 67-

5901 through -5912.

    26. Defendant JCSO was aware of Mr. Maraschiello’s disability at the time of his

termination from employment.




VERIFIED COMPLAINT AND DEMAND FOR JURY TRIAL Page 4
          Case 1:13-cv-00174-CWD Document 2 Filed 04/09/13 Page 5 of 11




    27. Despite Mr. Maraschiello’s disability, or perceived disability, Mr. Maraschiello was

otherwise qualified to perform the essential functions of his job with Defendant JCSO.

    28. Defendant JCSO’s decision to terminate Mr. Maraschiello’s employment was motivated

by his disability, or perceived disability, and was in violation of the ADA.

    29. Defendant JCSO’s decision to terminate Mr. Maraschiello’s employment was motivated

by his disability, or perceived disability, in violation of the Idaho Human Rights Act.

    30. As a direct and proximate result of the Defendant JCSO’s conduct, Mr. Maraschiello

suffered general damages, loss of earnings, and emotional damages in an amount to be proven at

trial, but which amount exceeds One Hundred Thousand Dollars ($100,000).

                                           COUNT TWO
                      Retaliation in Violation of the Americans with Disability
                  Act, 42 U.S.C. § 12101 et seq., and the Idaho Human Rights Act

    31. The allegations set forth in paragraphs 1 through 29 of this Verified Complaintare

realleged in this paragraph as if fully set forth in their entirety herein.

    32. After Mr. Maraschiello complained about being discriminated against because of his

disability, he was treated differently and less favorably than other employees at the JCSO.

    33. Defendant JSCO ultimately terminated Mr. Maraschiello’s employment in retaliation for

his complaints and attempts to address discriminated visited upon him due to his disability or his

perceived disability.

    34. Defendant JSCO’s treatment of Mr. Maraschiello was wrongful and in retaliation for his

complaint regarding disability discrimination.

    35. Defendant JSCO’s conduct was intentional and willful.

    36. Defendant JSCO’s retaliation against Mr. Maraschiello was in violation of the Americans

with Disabilities Act, 42 U.S.C. § 1201 et seq. and the Idaho Human Rights Act.




VERIFIED COMPLAINT AND DEMAND FOR JURY TRIAL Page 5
          Case 1:13-cv-00174-CWD Document 2 Filed 04/09/13 Page 6 of 11




    37. As a direct and proximate result of the actions of Defendant JSCO, Mr. Maraschiello has

suffered damages and is entitled to recovery monetary damages on an amount to be proven at

trial, but which amount exceeds One Hundred Thousand Dollars ($100,000.00).

    38. In addition and in the alternative, Defendant Johnson retaliated against Mr. Maraschiello

by falsely informed a member of the general public Mr. Maraschiello was off of work because he

needed to get his drinking under control.

    39. Defendant Johnson’s treatment of Mr. Maraschiello was wrongful and in retaliation for

his complaint regarding disability discrimination.

    40. Defendant Johnson’s conduct was intentional and willful.

    41. Defendant Johnson’s retaliation against Mr. Maraschiello was in violation of the

Americans with Disabilities Act, 42 U.S.C. § 1201 et seq. and the Idaho Human Rights Act.

    42. As a direct and proximate result of the actions of Defendant Johnson, Mr. Maraschiello

has suffered damages and is entitled to recovery monetary damages on an amount to be proven at

trial.

                                          COUNT THREE
                                         Wrongful Discharge

    43. The allegations set forth in paragraphs 1 through 41 of this Verified Complaint are

realleged in this paragraph as if fully set forth in their entirety herein.

    44. The Idaho Human Rights Act, Idaho Code §§ 67-5901 through -5912 establishes it is the

public policy of the State of Idaho to protect and safeguard the right of all persons to seek, obtain

and hold employment without discrimination on account of disability.

    45. The action of JCSO discharging Mr. Maraschiello from his employment on the basis of

his disability or perceived disability constitutes a tortious act in violation of the public policy of

the State of Idaho.



VERIFIED COMPLAINT AND DEMAND FOR JURY TRIAL Page 6
          Case 1:13-cv-00174-CWD Document 2 Filed 04/09/13 Page 7 of 11




    46. As a direct and proximate result of the Defendant JCSO’s conduct, Mr. Maraschiello

suffered general damages, loss of earnings, and emotional damages in an amount to be proven at

trial, but which amount exceeds One Hundred Thousand Dollars ($100,000).

                                         COUNT FOUR
                          Breach of Implied Covenant of Good Faith and
                     Fair Dealing in Employment Contract – Defendant JCSO

    47. The allegations set forth in paragraphs 1 through 45 of this Verified Complaint are

realleged in this paragraph as if fully set forth in their entirety herein.

    48. There existed an implied covenant of good faith and fair dealing in Mr. Maraschiello’s

employment relationship with Defendant JCSO.

    49. By terminating Mr. Maraschiello based on his disability or his perceived disability,

Defendant JCSO breached the covenant of good faith and fair dealing implied in Mr.

Maraschiello’s employment relationship.

    50. Defendant JCSO’s conduct was intentional.

    51. As a direct and proximate result of the acts or omissions of Defendant JSCO, Mr.

Maraschiello has suffered general damages, loss of earnings, and emotional damages in an

amount to be proven at trial, but which amount exceeds One Hundred Thousand Dollars

($100,000).

                                          COUNT FIVE
                              Intentional and/or Negligent Infliction
                  of Emotional Distress – Defendants JCSO, McFall and Johnson

    52. The allegations set forth in paragraphs 1 through 50 of this Verified Complaint are

realleged in this paragraph as if fully set forth in their entirety herein.

    53. As a direct and proximate result of Defendant JCSO’s intentional, reckless and/or

negligent conduct, Mr. Maraschiello has suffered and continues emotional distress as physically




VERIFIED COMPLAINT AND DEMAND FOR JURY TRIAL Page 7
          Case 1:13-cv-00174-CWD Document 2 Filed 04/09/13 Page 8 of 11




manifested by sleeplessness, uncontrollable bouts of weeping and nightmares, among others.

    54. As such, in addition to the relief requested hereinabove, Mr. Maraschiello is entitled to

recover monetary damages representing fair and reasonable compensation for the emotional

distress suffered by him as a result of the wrongful conduct alleged hereinabove in an amount to

be proven at trial.

                                           COUNT SIX
                                  Defamation – Defendant Johnson

    55. The allegations set forth in paragraphs 1 through 53 of this Verified Complaint are

realleged in this paragraph as if fully set forth in their entirety herein.

    56. Defendant Johnson knowingly and intentionally communicated false and defamatory

information about Mr. Maraschiello to members of the JCSO and the general public.

    57. The information communicated by Defendant Johnson impugned the honesty, integrity,

virtue or reputation of Mr. Maraschiello or exposed him to public hatred, contempt or ridicule.

    58. The information communicated by Defendant Johnson was false.

    59. Defendant Johnson know the information communicated by him was false or Defendant

Johnson reasonably should have known the information communicated by him about Mr.

Maraschiello was false.

    60. As a direct and proximate result of the acts or omissions of Defendant JSCO, Mr.

Maraschiello has suffered general damages in an amount to be proven at trial.

                                         ATTORNEY FEES

        Mr. Maraschiello has been required to engage the services of KORMANIK HALLAM &

SNEED LLP to prosecute this action and is entitled to recover attorney fees and costs incurred in

prosecuting each Count of this action pursuant to Idaho Code §§ 12-120, 12-120(3), 12-121, 42

U.S.C. §§ 12117 and 2000e-k(5), and other applicable state and federal law.



VERIFIED COMPLAINT AND DEMAND FOR JURY TRIAL Page 8
         Case 1:13-cv-00174-CWD Document 2 Filed 04/09/13 Page 9 of 11




                                 DEMAND FOR JURY TRIAL

       Pursuant to FED. R. CIV. P. 38 and DIST. IDAHO LOC. CIV. R. 38.1, Mr. Maraschiello

hereby demands a trial by jury on all issues so triable.

                                     PRAYER FOR RELIEF

       WHEREFORE, Mr. Maraschiello prays for relief as follows:

   1. For an award to, and judgment in favor of, Mr. Maraschiello for compensatory damages

against Defendant Idaho Jerome County Sheriff’s Office, for disability discrimination,

retaliation, wrongful discharge and breach of the implied covenant of good faith and fair dealing

in an amount to be proven at trial, but which exceeds One Hundred Thousand Dollars

($100,000);

   2. For an award to, and judgment in favor of, Mr. Maraschiello for compensatory damages

against Defendants Douglas McFall and Jack Johnson for intentional infliction of emotional

distress and negligent infliction of emotional distress in an amount to be proven at trial;

   3. For an award to, and judgment in favor of, Mr. Maraschiello for compensatory damages

against Defendant Jack Johnson for defamation.

   4. For an award of Mr. Maraschiello’s attorney fees incurred in prosecuting this action,

pursuant to Idaho Code §§ 12-120, 12-121, 48 U.S.C. §§ 12117 and 2000e-k(5) and all other

applicable state and/or federal laws;

   5. For costs of suit incurred herein; and

   6. For such other and further relief as the Court deems just and proper.




VERIFIED COMPLAINT AND DEMAND FOR JURY TRIAL Page 9
       Case 1:13-cv-00174-CWD Document 2 Filed 04/09/13 Page 10 of 11




      DATED this 9th day of April, 2013.

                                            KORMANIK HALLAM & SNEED LLP

                                            By: /s/ John R. Kormanik________
                                            John R. Kormanik, of the Firm
                                            Attorneys for Plaintiff




VERIFIED COMPLAINT AND DEMAND FOR JURY TRIAL Page 10
        Case 1:13-cv-00174-CWD Document 2 Filed 04/09/13 Page 11 of 11




STATE OF ARIZONA              )
                              ) ss.
County of Maricopa            )

       I, John “Nick” Maraschiello, the Plaintiff in the foregoing action, being first duly sworn,

do hereby declare to the undersigned authority that I have read and examined the foregoing

document and, to the best of my knowledge and belief, it is true, accurate and correct.



                                                       /s/ John “Nick” Maraschiello__


       SUBSCRIBED AND SWORN TO before me this ___ day of April, 2013.

SEAL

                                                     _/s/Ronald Roberts_________________
                                                     Notary Public for Arizona, Maricopa
                                                     My Commission Expires: 10/15/2014




VERIFIED COMPLAINT AND DEMAND FOR JURY TRIAL Page 11
